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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                AT BOWLING GREEN
                                                                        U.S. DISTRICT COURT
                                                                       WESrN. DIST. KENTUCKY

UNITED STATES OF AMERICA                                                             PLAINTIFF


V.



H. HARRIS PEPPER, JR.                                                           DEFENDANT


                           NOTICE OF ENTRY OF APPEARANCE

       Assistant United States Attorney Bryan R. Calhoun hereby enters his appearance of

record on behalf of the United States of America.



                                            Respectfully submitted,

                                            RUSSELL M. COLEMAN
                                            United States Attorney



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